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 8
 9                    IN THE UNITED STATES DISTRICT COURT
10                               DISTRICT OF ARIZONA
11   United States of America,                        No. CR-19-898-PHX-DLR
12                Plaintiff,                           NOTICE OF ERRATA
13         vs.
14   David Allen Harbour,
15                Defendant.
16
17         Defendant David Allen Harbour, by and through Jami Johnson, Assistant
18   Federal Public Defender, respectfully submits a Notice of Errata to the caption title
19   on the Transcript Redaction Request filed at docket no. 902. The caption title
20   should read “In the United States District Court District of Arizona.”
21         Respectfully submitted: April 9, 2024.
22
23                                      JON M. SANDS
24
                                        Federal Public Defender

25                                      s/Jami Johnson
26                                      JAMI JOHNSON
                                        Assistant Federal Public Defender
27
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